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4                             UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                   No.      2:15-cr-00190 GEB
8                    Plaintiff,
9           v.                                   STATUS HEARING ON STATUS OF
                                                 COUNSEL AND PRESENTENCE REPORT
10   LARRY TODT,
11                   Defendant.
12

13                 The undersigned has placed the above referenced matters

14   on the criminal calendar scheduled to commence at 9:00 a.m. on

15   March 2, 2018, because of information received about the matters

16   and    a    communication    with    the       assigned    Probation     Officer     on

17   February 28, 2018. The Probation Officer explained during the

18   February 28, 2018 communication that the Presentence Report has

19   not been prepared because Defendant Larry Todt’s lawyer canceled

20   the    interview      scheduled     with       the   Probation    Officer    in     the

21   following     email    communication        to    the   Probation   Officer       dated

22   January 16, 2018: “Mr. Todt has attempted to fire me. I will have

23   to put it on calendar for status of counsel before we can conduct

24   the interview. Sorry, just found out myself.”                       The Probation

25   Officer also explained to the undersigned during the February 28,

26   2018   communication      that    the      Presentence     Report   has     not    been

27   completed      because     typically       such       reports    include    personal

28   information a defendant elects to provide the Probation Officer.
                                                1
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1    If Defendant does not elect to provide such information to the

2    Probation       Officer,   the   Probation   Officer   may   be   directed   to

3    prepare     a     Presentence     Report     without   inclusion     of   such

4    information.

5    Dated:    February 28, 2018

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